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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                                Fort Worth Division

  OUTSOURCING FACILITIES
  ASSOCIATION, et al.,

              Plaintiffs,

        v.
                                                Civil Action No. 4:24-cv-00953-P
  UNITED STATES FOOD AND DRUG
  ADMINISTRATION, et al.,

              Defendants.


                                Plaintiffs’ Response to Order
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        “Given the significant number of people who will be affected by this matter,” ECF No. 109

 at 2, Plaintiffs requested that the Court enter final judgment so that an appeal may proceed

 expeditiously, and Plaintiffs’ litigation opponents joined that request. See ECF No. 108. Plaintiffs

 sought entry of final judgment against themselves to obtain timely relief following the Court’s

 denial of their motion for a preliminary injunction. The Court’s subsequent denial of the Food and

 Drug Administration’s motion to stay summary-judgment proceedings and stated intention to issue

 a final judgment “by the end of April,” ECF No. 106 at 2, mean that Plaintiffs’ preliminary-

 injunction appeal will be mooted before it can be decided, see Koppula v. Jaddou, 72 F.4th 83, 84

 (5th Cir. 2023), and left Plaintiffs little choice but to withdraw their motion seeking to expedite

 that appeal, CA5 Dkt. No 41. Meanwhile, the FDA refuses to extend its prior enforcement

 discretion policies during either summary-judgment or appellate proceedings. Thus, pharmacy

 compounding of “essential copies” of FDA-approved tirzepatide products became prohibited on

 March 6, and bulk tirzepatide compounding by outsourcing facilities became prohibited on March

 19. Right now, the significant number of people who depended on compounded products for years

 cannot get them, and Plaintiffs have no obvious course to obtain timely relief that restores patient

 access and remedies their injuries. Unless the Court determines that summary-judgment

 proceedings involving the same issues and arguments have value because they might lead the

 Court to reach a different outcome, it should proceed as the parties jointly requested so that

 Plaintiffs may seek to vindicate their position expeditiously in the Fifth Circuit.

        The Court ordered the parties to “submit … any excerpts of the administrative record they

 wish the Court to see prior to the entry of a judgment on the merits.” ECF No. 109 at 2. Plaintiffs

 addressed record excerpts in their reply brief. See ECF No. 98 at 1, 4–9; ECF No. 98-1. To satisfy

 the Court’s order, and to ensure a full record, Plaintiffs now file additional pages to provide context

 to those pages already presented, FDA251–58; FDA286–89; FDA303–06; FDA334–35; FDA350–

 58; FDA410–17; FDA422-37; FDA453–56; FDA459–92; FDA570–79. Additionally, Plaintiffs

 presented with their opening preliminary-injunction filing documents they understood to have been

 provided to FDA, and they now file certain documents FDA refers to as “Other Records” to
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 also FDA436. A monthly baseline therefore provides a feasible means of checking whether Lilly’s

 figures are internally consistent and ultimately a suitable basis for evaluation of shortage.

        4.      The record demonstrates that FDA’s determination that the shortage was resolved

 relies on data that contradict the FDA’s decision. One pertinent example is




                                                                        This was literally a period of

 time where supply fell below demand. And it was the most up-to-date evidence leading into FDA’s

 decision. How can an agency maintaining “up-to-date” shortage list rationally ignore that the same

 data it relied upon shows the drug in question to be in shortage? Neither the Court’s order nor any

 brief of the Defendants has an answer. Nor could the agency provide one now. See SEC v. Chenery

 Corp., 318 U.S. 80, 87 (1943).




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           5.         The trove of evidence showing that pharmacies cannot order tirzepatide products

 from wholesalers confirms a shortage. FDA000607–1606. It is not correct to construe the record

 to support FDA’s belief that this evidence reflects localized shortages inevitably resolved in “a

 day or two.” ECF No. 100 at 25. The record shows pervasive, nationwide delays that are

 substantial. Among other things, the record includes more than 100 pages of screen shots showing

 that pharmacies had limited or no supply of brand-name tirzepatide products. See FDA679–693;

 FDA710–713; FDA849–853; FDA857–60; FDA982–1017; FDA1521–1584; FDA1590–1606.




 FDA1450         (emphasis

 added);        see      also

 FDA1438–40;

 FDA1450; FDA1451;

 FDA1485; FDA1529–

 1531;          FDA1541–
 1542;          FDA1544;

 FDA1576.




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 FDA1451 (emphasis added). This

 refutes the notion that pharmacies

 could     receive       brand-name

 tirzepatide products within a few

 days:




                                                                                                , this

 evidence refutes the notion that supply disruptions were “localized” rather than national. See ECF

 No. 100 at 66. This evidence also contradicts Lilly’s representations of wholesalers’ stock: if those

 representations were true, wholesalers would have had the stock.

         The record also contains cover notes identifying the screen shots and providing information

 like dates. See, e.g., FDA677; FDA677–93; FDA846–47; FDA854–56; FDA861–62. These show
 that the screenshots were predominantly taken                            and thus represent the most

 up-to-date information available as of the December 19, 2024, agency action. See, e.g., FDA1427

 (              ); FDA1438 (                ); FDA1473 (                         ); FDA988           ;

 FDA984–87 (                 ).

         The record also contains survey data, see, e.g., FDA708–09; FDA724–34; FDA970–72;

 FDA977–78, press articles, see, e.g., FDA794; FDA799, and letters, see, e.g., FDA631; FDA817,

 all confirming a shortage. There is simply too much of this information to dismiss out of hand, as

 FDA irrationally did.

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        The Court has already ruled that Plaintiffs’ arguments on the merits “failed.” ECF No. 100

 at 6. Plaintiffs are respectful of the Court’s time and heavy case load and do not seek to further

 burden the Court by presenting it with arguments it has already found unpersuasive. For the Court

 to determine that further proceedings on the merits would have value—where all sides have already

 fully aired their positions—would have to reflect a judgment that the outcome at judgment will

 likely be different. If the Court determines that, then the proper course of action would be to

 promptly reconsider its preliminary-injunction order, issue an injunction now to preserve the status

 quo for the weeks leading to final judgment, and schedule expedited summary judgment

 proceedings. The Court has power to “revise” an interlocutory order and “grant an injunction”

 notwithstanding a pending interlocutory appeal. Fed. R. Civ. P. 54(b), 62(d). Aside from the jointly

 requested relief of converting the Court’s preliminary-injunction order into a final judgment, that

 is the only path that would serve the interests of “the significant number of people who will be

 affected by this matter.” ECF No. 109 at 2.

        Respectfully submitted,

  Dated: March 25, 2025                               /s/ Ty Doyle
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                                        Certificate of Service

           I hereby certify that this document, filed through the CM/ECF system on this day, will be

 sent via electronic mail to the registered participants as identified on the Notice of Electronic

 Filing.

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